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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV20-08035-SVW (JPRx)                                                 Date   May 12, 2021
 Title          Hong Liu v. Faraday & Future Inc. et al.




 Present: The                 Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                                CS 5/12/2021
                    Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                         Attorneys Present for Defendant:
                  Amiad M. Kushner                                           Jeffrey M. Goldman
                                                                                Kevin A. Crisp
                                                                             Lauren E. Grochow
                                                                                Alan J. Kessel
                                                                                Paul B. George


 Proceedings:              (IN COURT): Telephonic Conference re Plaintiff’s Ex Parte Application to
                           Clarify Court’s May 3, 2021 Order

         Case is called. Counsel make their appearances. Court addresses parties. Argument heard.

        For the reasons stated on the record at the hearing, Plaintiff’s May 7, 2021 ex parte application
for clarification of the Court’s May 3 order is DENIED except that Defendants must produce to Plaintiff
no later than May 19 a declaration stating that the email accounts of Bob Ye and Sheryl Skibee have
been searched and that no documents concerning Plaintiff’s termination have been located or, if such
documents do exist, that they are simultaneously being produced to Plaintiff.




         cc: Judge Wilson




                                                                                             1      :        06
                                                               Initials of Preparer                bm



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